
OPINION OF THE COURT
FREDDIE J. WORTHEN, County Judge.

ORDER

THIS CAUSE having come on for hearing upon the Defendant’s *85Motion to Suppress Breath Test Results and the Court being fully advised in the premises, it is hereby
ORDERED AND ADJUDGED that the Defendant’s Motion to Suppress Breath Test Results is granted. After hearing testimony in this cause, the Defendant was observed for eighteen (18) minutes prior to the administration of the first breath test. This Court finds that the eighteen minute observation period is not in substantial compliance with H.R.S. Rule 10D-42.024(f).
DONE AND ORDERED in Chambers at the Volusia County Courthouse Annex, 125 East Orange Avenue, Daytona Beach, Volusia County, Florida, this 18th day of October, 1989.
